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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                                      No. 15 CR 18-3
                    v.
                                                      Hon. Elaine E. Bucklo
URVASHI VERMA


                               URVASHI VERMA’S
                           SENTENCING MEMORANDUM

      As district courts in other unlawful export cases have found, the Guideline

applicable here offers a one-size-fits-all approach that provides essentially no useful

guidance as to an appropriate sentence. After careful consideration of the

aggravating and mitigating circumstances specific to Ms. Verma, U.S. Probation

has recommended a sentence of four years’ probation. For the reasons set out below,

Ms. Verma agrees with Probation’s analysis.

      Ultimately, whatever sentence the Court determines to be appropriate, the

most salient reality for Ms. Verma will be this: She is now a convicted felon. That

reality will restrict her future opportunities and shadow her for the rest of her life.

Because her conviction, along with the recommended sentence of probation, will be

sufficient, but not greater than necessary, to serve the purposes enumerated in

§ 3553(a),   Ms.   Verma    respectfully   requests    that   the   Court   impose   that

recommended sentence, with any additional conditions the Court deems warranted.
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I.       The Sentencing Guidelines Do Not Provide Rational Guidance In
         This Case.

         Ms. Verma’s advisory guidelines range is driven by U.S.S.G. § 2M5.2, as

made applicable by U.S.S.G. § 2X1.1. In this case, the advisory range does not

provide meaningful guidance for determining a just and reasonable sentence.

         Other guidelines provisions have been criticized for employing overly crude

measures of seriousness (e.g., loss amount or drug quantity). Section 2M5.2 more or

less abandons the effort altogether. Other than a carve-out (for offenses involving

not more than two non-fully-automatic small arms) that is inapplicable to the vast

range of conduct falling within its ambit, § 2M5.2 establishes a single base offense

level (26) for everything else. That is the same base offense level applicable to

crimes involving the evasion of “controls relating to the proliferation of nuclear,

biological, or chemical weapons or materials.” See U.S.S.G. § 2M5.1(a)(1). It is the

same base offense level applicable to those convicted of providing material support

to designated foreign terrorist organizations. See U.S.S.G. § 2M5.3.1



     This history of § 2M5.2 shows that it is not based on empirical data and national
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experience. As originally promulgated, § 2M5.2 reserved its highest offense level (at that
time, 22) for offenses involving “sophisticated weaponry” and otherwise prescribed a base
offense level of 14. In 1990, with little commentary, the violations eligible for this lower
offense level were narrowed to those involving not more than ten “non-fully-automatic
small arms.” U.S.S.G. App. C, Vol. I, Amend. 337 (Nov. 1, 1990). The only reason offered for
the amendment was “to better distinguish the more and less serious forms of offense
conduct covered.” Id. In 2001, apparently as a tag-along to a similar amendment to § 2M5.1,
§ 2M5.2 was amended to increase the higher base offense level from 22 to 26. See U.S.S.G.
App. C, Vol. II, Amend. 633. In its across-the-board nature, the amendment went beyond
the proffered reason for it: to respond to “a sense of Congress that guideline penalties are
inadequate for certain offenses involving the importation and exportation of nuclear,
chemical, and biological weapons, materials, or technologies.” Id. This history, which
underscores the arbitrary nature of the Guideline, and the lack of empirical data
supporting it, provides additional reason to give no weight to the advisory range it
generates here.

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       Not surprisingly, given that the Sentencing Commission fashioned § 2M5.2

as a blunt instrument, sentences well below the advisory range are, as shown below,

relatively common in arms export cases, and probationary sentences are far from

unprecedented. See infra at 13-26. That is true without regard to whether a

particular case is deemed to satisfy the specific grounds for departure set forth in

the application notes to §2M5.2. Here, given the mitigating factors discussed below,

including the limited “degree to which the violation threatened a security or foreign

policy interest of the United States,” the undersigned respectfully submits that a

substantial departure from the base offense level would be warranted. See U.S.S.G.

§ 2M5.2, application note 2. That was the approach Judge Darrah took, for example,

in Sevilla, also discussed below. See United States v. Sevilla, No. 04 CR 171, 2006

WL 3486872, at *3 (N.D. Ill. Nov. 29, 2006) (departing downward 14 levels from

base offense level under § 2M5.1(a) based on conclusion that “a term of

imprisonment of 51 to 63 months is inconsistent with sentences among defendants

with similar records who have been found guilty of similar conduct”).

       That said, the Seventh Circuit has instructed that Booker “made departures

obsolete. The Guidelines are no longer binding; judges can use their own

philosophies.” United States v. Townsend, 724 F.3d 749, 751 (7th Cir. 2013).

Accordingly, in requesting the probationary sentence recommended by U.S.

Probation, the discussion below focuses on the exercise of the Court’s discretion

under § 3553(a). 2


   2 Ms. Verma’s only objection to the Presentence Investigation Report involves a request
for clarification in paragraph 21. That paragraph of the PSR includes the following

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II.     The Section 3553(a) Factors Weigh In Favor Of A Sentence
        Consistent With U.S. Probation’s Recommendation.

        Consideration   of   the   § 3553(a)       factors   confirms   that   the   sentence

recommended by U.S. Probation is “sufficient, but not greater than necessary,” to

serve the statutorily enumerated purposes of sentencing. See 18 U.S.C. § 3553(a).

        A.    The Nature and Circumstances of the Offense

        There is no denying the seriousness of the offense of which Ms. Verma now

stands convicted. That said, there are a number of mitigating circumstances that

take this matter outside what might be thought of as a more typical unlawful export

case.

              1.     There was no intent to transfer to a foreign end user, to aid a
                     foreign adversary, or to harm the United States.

        In this case, there was no intent to transfer defense articles to a foreign end

user. In other words, although the transmission of drawings or sample parts to

China met the definition of “export” under AECA, there is no evidence that Ms.

Verma had any intent to enable the Chinese government, or any other foreign

party, to possess or develop military items for its own use. Nor does the government

claim that Ms. Verma’s motivations were political or ideological. There is no reason

to believe that Ms. Verma sought to aid a foreign adversary, to harm the United

States, or to further some larger political, ideological, or criminal objective. Rather,

the government prosecuted the case on the theory that the defendants arranged for



sentence: “The defendant purchased one sample of the part from another U.S.-based
manufacturer in order to obtain a good example of a properly manufactured part.” In
context, it is clear that the intention was to reference co-defendant Bharat Verma. Ms.
Verma requests that the PSR be revised accordingly.

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items to be manufactured in China to enhance the margins on sales to U.S.

government contractors. That is not to take issue with the jury’s finding that the

offense conduct involved the export and import of defense articles under the

applicable statutes and regulations. But this is not like those cases, for example,

where a defendant agrees to sell sensitive military technology to someone she or he

believes to be procuring it for the armed services of another country.

       Moreover, as U.S. Probation noted in its sentencing recommendation, and

without gainsaying the seriousness of any violation of the arms export control laws,

it does not appear that the information at issue in this case is “of such great

sophistication that its disclosure to China would seriously jeopardize United States

military secrets or give China a greater technological or tactical advantage over the

United States.” (Sent. Rec. at 2.)3 The undersigned respectfully submits that the

evidence at trial tended to confirm that observation. The parts as to which the

government presented expert testimony (including spacers, bushings, washers, and

the like) are different in kind from the more sophisticated items (such as




   3  With regard to quality deficiency issues raised by the government, U.S. Probation
offers the following well-founded observations: “[T]he government has provided no basis for
comparison, i.e., the number of rejections or field failures of identical or similar parts
supplied by legitimate manufactures. In fact, the government acknowledges that, although
thousands of parts and materials manufactured in China made it into the supply chains for
end-use and items used by the military[,] and quality-deficient part[s] could have been
utilized in the field, the quality of all these items remains unknown, in part, because
quality review was done on a random basis.” (Sent. Rec. at 2-3.)

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accelerometers and gyroscopes) that are often the subject of unlawful export cases,

representative examples of which are discussed below. See infra at 21-26.4

              2.     In the particular circumstances of this case, the role of
                     Ms. Verma’s father is a mitigating factor.

       In considering both the nature and circumstances of the offense, and Ms.

Verma’s history and characteristics, it is impossible to overlook the familial origins

of the conduct at issue. As the Court is well aware, Ms. Verma’s father and co-

defendant, Bharat Verma, an optical engineer by training, was the founder and

president of Vibgyor—a business he started in 1987, when Ms. Verma was thirteen

years old. (PSR at 7, ¶ 19; see also Govt’s Version at 2.) Ms. Verma’s brother also

came to play an important role at the company. (PSR at 9, ¶ 29.) While in no way

diminishing her personal responsibility for her own decisions, it does not seem

controversial to posit, along with U.S. Probation, that Ms. Verma’s “involvement in

said conspiracy was a function of her employment relationship with her father,

Bharat Verma.” (Sentencing Rec. at 4.)

       This family dynamic is relevant to sentencing in at least two respects. First,

while it does not excuse Ms. Verma’s conduct, it puts it in some context. At a

minimum, the fact that Vibgyor was a family business underscores that Ms. Verma

did not independently initiate or gravitate toward criminal conduct. Put another

way, had her father not established Vibgyor, there is no reason to think that Ms.

Verma would have engaged in unlawful activities.


   4 The Court will recall that, as a result of the regulatory process known as export control
reform, a majority of those parts had been moved from the U.S. Munitions List to the
Commerce Control List by the time of trial.

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       Second, in the specific circumstances here, the family origins of the offense

conduct (along with the other personal characteristics discussed below) provide

additional grounds to conclude that the risk of recidivism is essentially non-

existent. Of course, Ms. Verma’s conviction will preclude her future involvement in

defense contracting. But beyond that, as U.S. Probation points out, Vibgyor is now

defunct, and Ms. Verma is estranged from her father. As discussed further below,

having recently obtained a journalism degree Northwestern, Ms. Verma has turned

her life in a new professional direction that is not centered on her family.

       B.    Ms. Verma’s History and Characteristics

       Based on Ms. Verma’s personal characteristics, there is every reason to

believe that Ms. Verma will make a positive contribution to society in the future. As

attested to in the letters of support to the Court, Ms. Verma has a generous spirit,

demonstrated in her commitment to the less fortunate (evidenced by her volunteer

work at homeless shelters over many years) and to the larger community—a

commitment that predates this case.5 The letters, from people who have known Ms.

Verma over many years in different contexts, ring true—both in their evident

sincerity on an individual level and in the collective portrait they paint of Ms.

Verma. “Her character and profound sense of loyalty to the community and

everyone around her is deep-rooted.” (Letter of Rubina Nguyen.) “She has attended

weekly religious services for decades and has committed herself to being an honest

person with good faith who tries to embody spiritual values and help improve her

   5Letters of support from the following have been provided to U.S. Probation for
submission to the Court: Rubina Nguyen; Sirmista Patel; Bhailal M. Patel; and Vishnu C.
Mohan.

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community. For many years, she volunteered at a women’s shelter providing food

and other goods. She is always finding ways to support people who have been

affected by disasters globally.” (Letter of Shirmista Patel.) “Urvashi has supported

many of our temples and community organizations not just professionally but also

on a personal level through her volunteer work. She has a good heart.” (Letter of

Bhailal M. Patel.) The letter from Vishnu Mohan describes Ms. Verma’s volunteer

activities at homeless shelters, over many years, in terms that make clear her

genuine concern for the shelter’s guests.

      Ms. Verma’s desire to pursue a career in journalism springs from this same

interest in contributing to the larger community. “During her work as a community

editor,” according to Mr. Patel, Ms. Verma’s supervisor at News India Times, where

she worked before pursuing journalism studies at Northwestern, Ms. Verma

“brought attention to important social and political issues impacting the Indian

diaspora, as well as Indians back home.”

      At the same time, the letters provide some measure of insight into factors

that may have contributed to the regrettable choices that have brought Ms. Verma

before this Court. Ms. Nguyen, who has known Ms. Verma for 23 years, offers the

following window into Ms. Verma’s character and formative influences:

      One of Sonia’s strongest trait[s] is her unquestioning loyalty and her
      profound sense of duty . . . not only to her parents, friends, employers
      but most of all, to the community. Every time someone has reached out
      to her for help, Sonia has come through and often without questioning,
      she has done what’s being asked of her. Her upbringing in a traditional
      immigrant family has heavily influenced the way she approaches any
      task given to her by her elders.



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       Again, while Ms. Verma’s sense of duty to the larger community abides, this

case has irrevocably severed the family influences that contributed to the conduct

underlying the offense of conviction. Moreover, the focus of the government’s case as

to Ms. Verma was conduct that occurred in 2010 and earlier. Therefore, in

considering Ms. Verma’s personal history and characteristics, the Court has the

advantage of being able to evaluate her behavior and personal evolution over the

many years subsequent to the conduct underlying her conviction. Cf. United States

v. Neuendank, No. 02 CR 1079, 2004 WL 419915 (N.D. Ill. Feb. 23, 2004) (Kennelly,

J.) (pre-Booker, holding that court could grant downward departure based on

rehabilitative efforts pending delayed initiation of prosecution).

       In the past three and a half years since this case was indicted, Ms. Verma

has complied with her release conditions and continued to pursue a positive

direction in her life. While on pretrial release, she obtained a master’s degree in

journalism from the Medill School at Northwestern University. (PSR at 21,

¶ 108(iv).)6 (As the Court will recall, it permitted Ms. Verma to travel abroad on at

least two occasions in connection with her studies.) Samples of articles Ms. Verma

authored as a student journalist, submitted as Exhibit 1 to this memorandum, show

that Ms. Verma pursued those studies with a sense of purpose. Ms. Verma

understands that her status as a convicted felon will limit her career opportunities.

Nevertheless, she is passionate about journalism, and feels strongly that she can

make a positive contribution to society by pursuing it as a profession. She is

   6  In the several years between that underlying conduct and the indictment, and
continuing into the present, Ms. Verma has also continued to support herself as a realtor.
(PSR at 21, ¶ 111.)

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determined to pursue her chosen career, even if only on a freelance basis for the

foreseeable future, and (as will be discussed further at sentencing) has put concrete

plans in place to do so to the extent the sentence imposed will allow.

      Ms. Verma’s successful pursuit of a degree in journalism degree and her

determination to pursue that profession are relevant to sentencing in a number of

ways. They are further evidence that she has separated herself from the family

associations and patterns that contributed to the offense conduct. Accordingly, they

further buttress U.S. Probation’s determination that Ms. Verma does not present a

risk of recidivism. Ms. Verma’s career aspiration also underscores the weight of a

felony conviction for her. For the rest of her life, she will live, personally and

professionally, with the restrictions, burdens and stigma of being a convicted felon.

In this case, to say that a felony conviction is in itself substantial punishment is not

to recite a mere truism.

      C.     The Need to Reflect the Seriousness of the Offense, Promote
             Respect for the Law, and Provide Just Punishment

      Ms. Verma has no prior criminal history and will now have a federal felony

conviction. As just discussed, that felony conviction, in and of itself, is grave

punishment for Ms. Verma. Moreover, in considering the extent to which the

purposes set out in § 3553(a)(2)(A) have been served, Ms. Verma’s sentencing does

not take place in a vacuum. Ms. Verma’s father and Vibgyor have also been

convicted, their business is defunct, and the family has been shattered.

      To be clear, in making these observations, the undersigned does not intend to

suggest that these consequences are unjust or merit sympathy. Rather, the point is


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that Ms. Verma will be subject to significant punishment even absent a custodial

sentence. And the probationary sentence that U.S. Probation has recommended

would impose further meaningful punishment beyond the lifelong burden of a felony

conviction and the collateral impacts of this prosecution. To be sure, “custodial

sentences are qualitatively more severe than probationary sentences of equivalent

terms.” Gall v. United States, 552 U.S. 38, 48 (2007). Nevertheless, as the Supreme

Court recognized in Gall, probation imposes a “substantial restriction of freedom”

and subjects offenders “to several standard conditions that substantially restrict

their liberty.” Id. Here, U.S. Probation has recommended that, in addition to those

standard conditions, Ms. Verma’s sentence include 400 hours of community service.

      To the extent the Court believes that U.S. Probation’s recommended sentence

is not sufficiently stringent, there are options short of incarceration. For example,

the Court could impose a period of home confinement or home detention, which

would restrict Ms. Verma to her residence other than for specified activities such as

employment,       religious   services,   medical   appointments,    and   Court-imposed

obligations (e.g., community service). (PSR at 30.) See 18 U.S.C. § 3563(b)(19).

Further, the Court could impose a five-year term of probation rather than the four-

year term recommended.

      In short, given both the direct and collateral consequences of Ms. Verma’s

conviction,   a    significant   probationary     sentence,   with   whatever   additional

restrictions the Court sees fit to impose, will further the goals of retribution and

respect for the rule of law.



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      D.     The Need To Afford Adequate Deterrence and Protect the
             Public From Further Crimes of the Defendant

      For reasons already discussed above, there is every reason to believe that

Ms. Verma will henceforth lead a law-abiding life. In addition to her specific

circumstances, as a woman over forty years old with a college education and zero

criminal history points, she falls into a number of categories that, statistically

speaking, point to a low risk of recidivism. See U.S. Sent’g Comm’n, Measuring

Recidivism: The Criminal History Computation of the Federal Sentencing

Guidelines at 23 (Ex. 4), 28-29 (Exs. 9, 10) (May 2004). A custodial sentence simply

is not needed to deter Ms. Verma specifically or to “protect the public from further

crimes” on her part. Indeed, to its credit, the government implicitly recognized as

much by not opposing Ms. Verma’s requests, while on pretrial release, to spend

substantial time abroad, first for school-related travel to Japan and then for a

three-months’-long internship in Israel.

      With regard to general deterrence, there is little reason to believe that a term

of incarceration for Ms. Verma will have a marginal impact over and above the

prosecution and convictions in this case, including whatever sentence is imposed on

Ms. Verma’s co-defendants. To the extent this case registers beyond those

immediately concerned, the prosecution not only of Ms. Verma, but also of Mr.

Verma and Vibgyor, provides ample deterrent to any person who might be tempted

to violate the export control laws. To paraphrase the district court in the Lachman

case (discussed below), “anyone in this area who has considered these proceedings




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would view all that has happened and the imposition of a sentence on [Mr. Verma

and Ms. Verma] as adequate deterrence.”

       E.     The Need to Avoid Unwarranted Sentencing Disparities

       Non-custodial sentences are far from unprecedented in export violation cases

generating similar advisory guidelines ranges—even cases that (unlike Ms.

Verma’s) involve an intent to transfer military technology to foreign end users.

Even where custodial sentences are imposed in such cases, they typically fall well

below the range suggested by the guidelines. As a general matter, it appears that

only in the most egregious cases—involving the specific intent to benefit a foreign

adversary, to the detriment of U.S. national security interests, through the transfer

of sophisticated technology—are guidelines-like sentences handed out. Accordingly,

the probationary sentence requested by Ms. Verma and recommended by U.S.

Probation would be entirely consistent with § 3553(a)’s goal of avoiding

unwarranted sentencing disparities. Conversely, anything approaching a guidelines

sentence in this case would result in an unwarranted sentencing disparity within

the meaning of § 3553(a).7




   7 The Justice Department’s National Security Division periodically releases a “Summary
of Major U.S. Export Enforcement, Economic Espionage, and Sanctions-Related Cases,”
which is available online. (See https://www.justice.gov/nsd/page/file/1044446/download;
https://www.justice.gov/nsd/files/export_case_list_june_2016_2.pdf/download;
https://www.justice.gov/sites/default/files/pages/attachments/2014/10/22/export-case-fact-
sheet-201410.pdf;
http://www.vpc.org/texas/TXCalvilloDOJExportEnforcementReport081028.pdf.)             Unless
otherwise indicated, case descriptions below are drawn from those summaries. References
to particular docket entries (“Doc. __”) are to the docket in the federal case under
discussion.

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             1.     Examples of Non-Custodial Sentences

      In each of the following cases, the district court imposed a non-custodial

sentence notwithstanding offense conduct that involved the transfer or attempted

transfer of military technology to a foreign end user, and/or the evasion of important

counter-proliferation controls:

      United States v. Ali Mohammadi, No. 12 CR 591-2 (N.D. Ill.). Judge

Lefkow sentenced Mohammadi (the sole owner of co-defendant Modir Trading) to

five years’ probation for conspiring to violate the International Emergency

Economic Powers Act (IEEPA) by exporting a gyroscope to Iran without a license.

The gyroscope in question—a Series 446 Rate Integrating Gyroscope—was a

component of the TOW missile, and also had applications in aircraft, ships, tanks,

and other weapons systems. Mohammadi’s guidelines range was 57 to 71 months’

imprisonment, the government recommended “a significant sentence that includes a

term of incarceration,” and (unlike here) U.S. Probation recommended a sentence of

24 months’ imprisonment. (Doc. 100 at 1-2.) Among the aggravating factors cited by

the government: an undercover agent warned Mohammadi that the gyroscope was

“significant military equipment” requiring an export license; Mohammadi knew

that the gyroscope was destined for Iran; the gyroscope had military applications

and could not legally be exported to Iran; and although Mohammadi’s attempt to

procure the gyroscope was limited to one sample, “it was [his] intention that this

transaction was to be the tip of the iceberg.” (Id. at 4-5.) Further, Mohammadi was

found to have obstructed justice by making false representations at a suppression



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hearing (albeit under the influence of counsel exercising questionable professional

judgment). (Id. at 6; see also Doc. 97 at 12-14.) To be sure, unlike Ms. Verma,

Mohammadi pleaded guilty, but his case involved significant aggravating

circumstances not present here—in particular, (i) relatively sophisticated military

equipment, and (ii) the intent to transfer that sophisticated equipment to Iran, a

hostile foreign power that is a sponsor of international terrorism.

      United States v. Lachman, et al., No. 93-10193-DPW (D. Mass.). The two

individual defendants in Lachman (Lachman and Subilia) were the top executives

at corporate defendant Fiber Materials, Inc., a military contractor with 25 years’

experience producing composite materials for industrial and aerospace applications.

See United States v. Lachman, 48 F.3d 586, 588 (1st Cir. 1995); see also United

States v. Lachman, 521 F.3d 12 (1st Cir. 2008). A jury convicted them of violating

and conspiring to violate the Export Administration Act by exporting, without the

requisite license, a control panel for a large hot isotatic press (HIP) to India. As

subsequently recounted by the First Circuit, the HIP in question could “produce

densified material useful for ballistic missiles.” 521 F.3d at 15. (The defendants

exported the HIP as part of a larger contract with the Indian government’s Defense

Research and Development Laboratory to “outfit a carbon/carbon facility in India

for use in rocket and missile development.” 48 F.3d at 588.) For reasons of national

security and nuclear non-proliferation, the export of the large HIP, and any

component, accessory and control “specially designed” for it, required a license. The

jury accepted the government’s theory that the control panel “had been ‘specially



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designed’ for the larger HIP and . . . therefore covered by the statute and

regulations.” 521 F.3d at 15-16. The district court vacated the defendants’

convictions on the ground that the regulations were unconstitutionally vague, but

the First Circuit reversed and reinstated the guilty verdicts. In 2005, the district

court sentenced Lachman to three years’ probation, with a year of home detention.

Subilia—who obstructed justice by perjuring himself at trial—also received a

sentence of three years’ probation, with the first six months in community

confinement. 521 F.3d at 16. (See also Doc. 646, sentencing transcript appended to

Judgment (“Lachman Tr.”), at p.14.)8

       The government argued in Lachman for sentences at the high end of the

guidelines range, which it calculated to be 63 to 78 months’ imprisonment for

Lachman, and 78 to 97 months’ imprisonment for Subilia. Although the district

court did not entirely accept the government’s characterization of defendants’

culpability, it bears noting the facts the government cited in aggravation: (i) the

defendants were “sophisticated businessmen who have enjoyed longstanding roles

as contractors in the United States defense industry” and who “were intimately

aware of the military uses to which their 1988 export was likely to be put generally,

and specifically in India’s AGNI missile program”; the “export was but one

component of a much larger scheme which was active from at least 1982 to 1992

and involved the defendants’ exports to India from both the United States and

Europe, as well as international travel”; and the defendants “took great pains to


   8 Because the Lachman sentencing transcript is discussed at some length below, it is
attached for the Court’s convenience as Exhibit 2 to this memorandum.

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execute a complex and sophisticated scheme to provide India with its military

facility well outside the scrutiny of their own government.” (Doc. 618 at 18-21.)

      As in almost any sentencing, the particular combination of aggravating and

mitigating factors in Lachman was idiosyncratic. That said, the sentencing

transcript is instructive for what it says about the district court judge’s approach to

the guidelines at a time when Booker’s full implications were still being digested.

The court started from the premise that the defendants’ conduct was “reprehensible

in the most fundamental sense”—“that the defendants here sought for their own

private economic advantage and heedless of the national security interests of this

country to exploit imprecision in the regulatory regime for controlling exports.”

(Lachman Tr. at 3.) Nevertheless, the court “c[a]me to the conclusion that this is a

case that simply falls entirely outside the Guidelines,” which “provide only the

crudest mechanism for measuring the culpability of the defendants here.” (Id. at 5,

7.) In particular, the court was convinced that the “potential use of the technology

that was transferred and is at issue here for the Indian missile and proliferation

program is de minimis and was de minimis.” (Id. at 9.)

      Addressing the goals of general deterrence and respect for the law, the

district court framed the question as whether “others similarly situated think that

this is a sentence which says ‘you’ve got to obey the law’ or is it a sentence that says

‘one can take a chance.” (Id. at 13.) The court concluded that the non-custodial

sentences it imposed were adequate to provide general deterrence and promote

respect the law:



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      I am morally certain that anyone in this area who has considered these
      proceedings would view all that has happened and the imposition of a
      sentence on these defendants as adequate deterrence. That is to say, it
      is not necessary to impose a severe incarcerative judgment to obtain as
      a result of this case and these proceedings an adequate deterrent or
      general deterrent on others.

(Id. at 13.) For reasons articulated above, the undersigned respectfully

submits that the same can be said of a probationary sentence in this case.

      United States v. Juan Sevilla, 04 CR 171 (N.D. Ill.). Judge Darrah

sentenced Sevilla to five years’ probation, with six months of home detention. In

that case, Sevilla entered a “blind” plea in which he admitted violating IEEPA by

attempting to sell a hydraulic floor model testing machine and related software, at a

total cost of more than $50,000, for ultimate delivery to Iran. See United States v.

Sevilla, 2006 WL 171039 (N.D. Ill. June 13, 2006); United States v. Sevilla, 2006

WL 3486872 (N.D. Ill. Nov. 29, 2006). Based on the charge of conviction, Sevilla’s

offense level was 24, resulting in a guidelines range of 51 to 63 months’

imprisonment. At sentencing, the government stressed that “Sevilla had been

attempting to export to Iran for quite some time,” that the evidence “demonstrated

that he indeed understood the scope of the [Iranian] embargo and knowingly

violated it,” and that “the equipment and software at issue was technology serious

enough to be listed on a ‘watch list’ relating to nuclear proliferation.” (Doc. 44 at 3-

4.) The government also noted that Iran (along with Cuba, Libya, Sudan, Syria, and

North Korea) was one of six countries the State Department had designated a

supporter of international terrorism. (Id. at 9.) Nevertheless, Judge Darrah found a

number of mitigating factors: the conduct occurred on one occasion and involved


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“minimal” commerce; there was no evidence of “criminal or terroristic intent”; and,

notwithstanding the government’s protestations to the contrary, the court

determined that the testing machine did not “threaten[] controls relating to the

proliferation of nuclear, biological, or chemical weapons.” 2006 WL 3486872, at *3.

The court also determined that “a term of imprisonment of 51 to 63 months is

inconsistent with sentences among defendants with similar records who have been

found guilty of similar conduct.” Id. Accordingly, the court departed downward 14

levels (from 24 to 10) and, as noted, imposed a sentence of five years’ probation.

      United States v. John Nakkashian, No. CR 08-00605. Nakkashian was a

Vice President for International Sales at Air Shunt Instruments, Inc., a supplier of

aerospace parts, many of them defense articles on the U.S. Munitions List. The

indictment, which charged four AECA violations, alleged that Nakkashian illegally

exported components for the J85 engine used on the F-5 fighter jet, and other

military items, to Dubai, United Arab Emirates, and also illegally exported a

military gyroscope to Thailand. (Doc. 1.) Nakkashian was arrested after fleeing the

country. Nevertheless, he was permitted to plead to a superseding information

charging a single § 1001 (false statement) violation (Doc. 32), and the court

sentenced him to two years’ probation. Nakkashian admitted in his plea agreement

that, even though he “was the vice president of Air Shunt responsible for

international exports by Air Shunt, and knew that Air Shunt was required to obtain

export licenses for USML items, and also knew that Air Shunt was routinely

exporting items included on the USML, [he] created no procedures to ensure Air



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Shunt applied for export licenses when required to do so.” (Doc. 32 at 6-9.) To the

contrary, according to the plea agreement, Nakkashian “trained and instructed the

Air Shunt employees responsible for filling out [Shipper’s Export Declarations] to

insert the letters ‘NLR’”—meaning “No License Required.” (Id. at 8.) In doing so, he

acted “willfully”—“deliberately, intentionally, and knowingly”—to conceal the fact

that an export license was required. (Id. at 9.) The court sentenced Nakkashian to

two years’ probation.

      United States v. Hsien Tai Tsai and Yueh-Hsun Tsai, 12 CR 829 (N.D.

Ill.) (Norgle, J.). As here, the lead defendant (“Alex” Tsai) was the father of his co-

defendant (“Gary” Tsai). Alex Tsai was a Taiwanese resident who operated a

number of Taiwan-based machine-tool businesses. The Treasury Department’s

Office of Foreign Assets Control (“OFAC”) had previously designated Alex Tsai and

his businesses as proliferators of weapons of mass destruction for their involvement,

since the late 1990s, in shipping items to North Korea that could be used to support

its advanced weapons program. His son and co-defendant, Gary Tsai, was a legal

permanent U.S. resident. The indictment charged them with conspiring to defraud

the United States in its enforcement of laws prohibiting the proliferation of

weapons of mass destruction; conspiracy to violate IEEPA by seeking to evade

restrictions resulting from Alex Tsai’s OFAC designation; and money laundering.

The father, Alex Tsai, pleaded guilty to conspiracy to defraud the United States and

received a sentence of two years’ imprisonment. The son, Gary Tsai, pleaded guilty

to a superseding information charging him with knowingly making a false bill of



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lading. The bill of lading related to a Bryant Center Hole Grinder (a precision

machine tool used to grind small center holes with precisely smooth sides) that

Gary Tsai purchased for one of his father’s businesses. In addition to that

transaction, according to the government’s sentencing memorandum, Gary Tsai, on

various other occasions, “engaged in transactions with his father that were

inconsistent with the WMD Sanctions Regulations”—including receipt of wire

transfers of $66,975 and $49,975, and other transactions involving the importation

of LED road lights and an oil pump into the United States. Gary Tsai received a

sentence of three years’ probation.

             2.    Examples of Substantially Below-Guidelines Sentences in Cases
                   Involving Transfers to Foreign End Users

      Cases involving intentional transfers to foreign end users of items more

sophisticated or lethal than the parts at issue in this case often result in sentences

well below the guidelines range. For example:

                  United States v. William Ali, 16 CR 142 (W.D. Wa.). A jury

      convicted Ali of conspiracy to violate AECA, but the court vacated the

      conviction based on his counsel’s failure to transmit the terms of a

      government plea offer. Ali then pleaded guilty to the charged conspiracy and

      was sentenced to 24 months’ imprisonment. According to the evidence at

      trial, Ali attempted to purchase, for export to China, accelerometers on the

      U.S. Munitions List that are used in spacecraft and missile navigation, as

      well as gyroscopes designed for military use. Ali paid an undercover agent




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    $25,000 for the devices before his arrest, when he was discovered with a

    ticket to Hong Kong and a travel visa to China.

                United States v. Yue Wu, 14 CR 306 (W.D. Wa.). Wu pleaded

    guilty to conspiracy to violate AECA by going through what the government

    described in its sentencing memorandum as “extensive and surreptitious

    efforts” to smuggle military-grade accelerometers to China. (Doc. 31 at 2-3.)

    The accelerometers in question were on the U.S. Munitions List and “were

    very sophisticated devices . . . developed for low-and zero-gravity inertial

    navigation systems that are used primarily in spacecraft and satellites. (Id.

    at 3.) The court sentenced Wu to 18 months’ imprisonment.

                United States v. Sam Rafic Ghanem, 14 CR 0008 (D. Md.). A

    jury convicted Ghanem of violating AECA and smuggling goods from the

    United States for attempting to use his own freight forwarding business to

    export to Lebanon the following firearm parts and accessories, which he

    planned to conceal in salvaged vehicles: seven 9mm semi-automatic pistols;

    three .40 caliber semi-automatic pistols; 10 AR-15 .223 caliber semi-

    automatic rifles; and 18 advanced combat optic gun sights. The court

    sentenced him to 18 months’ imprisonment.

                United States v. David Ray Kelley, 13 CR 0588 (D. Md.). Kelley

    received a sentence of 18 months’ imprisonment after pleading guilty to

    violating AECA. In his plea agreement (Doc. 23), Kelley acknowledged

    operating a business that sold night vision devices on the U.S. Munitions List



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    and other military-style items primarily over eBay. He admitted making

    approximately 60 shipments containing ITAR-restricted weapons parts and

    night vision devices destined for customers in 24 different countries,

    including Argentina, Australia, Russia, the Philippines, the United Kingdom,

    and Japan. He disguised these shipments, for which he collected over

    $140,000, by falsely labeling them as, among other things, “toys.”

                United States v. Kevin Zhang, 11 CR 212 (S.D. Cal.). The court

    sentenced Zhang to time served (approximately eight and a half months)

    after he pleaded guilty to conspiring to export defense articles in violation of

    AECA. Specifically, Zhang conspired to export to China gyroscopes with uses

    in tactical missile guidance and unmanned aircraft systems. According to the

    indictment, Zhang solicited others in the U.S. to obtain and smuggle defense

    articles, including the gyroscopes, to China. On behalf of China, Zhang

    himself allegedly sought to purchase three gyroscopes for $21,000 as a

    prelude to future purchases.

                United States v. Mansour Moghtaderi Zadeh, 10 CR 309

    (D.D.C.). Zadeh was sentenced to 18 months’ imprisonment for participating,

    from May 2005 through December 2008, in a conspiracy to smuggle aviation

    parts and supplies to Iran. Zadeh conducted his export activities through

    several companies that he formed in Iran and Cyprus, and persisted in the

    criminal conspiracy even after the Commerce Department issued a




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      Temporary Denial Order prohibiting him (under an alias he had used) from

      exporting goods from the United States.

                   United States v. Qing Li, 07 CR 2915 (S.D. Cal.). Li received a

      sentence of a year and a day after pleading guilty to conspiracy to smuggle

      military-grade accelerometers from the United States to what her co-

      conspirator   described   as   a   “special”   scientific   agency   China.   The

      accelerometer in question has military applications in “smart” bombs and

      missile development and in calibrating the g-forces of nuclear and chemical

      explosions.

             3.     Examples of Multi-Year Sentences Reserved for the Most Serious
                    Efforts to Aid Foreign Adversaries and Harm U.S. National
                    Security Interests

      Generally speaking, sentences approaching the severity suggested by the

guidelines appear to be reserved for cases striking at the heart of national security

concerns, such as deliberate efforts to transfer to foreign adversaries sensitive

technology conferring a military advantage on the United States. For example, in

United States v. Wenxia Man, 14 CR 60195 (S.D. Fla.), a jury convicted Man of

conspiring to export fighter jet engines, an unmanned aerial vehicle (commonly

known as a drone), and related technical data to the People’s Republic of China, in

violation of AECA. According to the evidence at trial, as described in government

press releases, between March 2011 and June 2013, Man conspired with a

“technology spy” working on behalf of the Chinese military to export to China

defense articles that included engines used in the F-35 Joint Strike Fighter, the F-

22 Raptor fighter jet, and the F-16 fighter jet, as well as the MQ-9 Reaper/Predator
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B Unmanned Aerial Vehicle capable of firing Hellfire Missiles. The government

argued in its sentencing memorandum that there could be “hardly a more serious

case . . . that involves some of our most sophisticated fighter jet engines and

unmanned weaponized aerial drones,” as well as the “clear intent . . . to enable the

People’s [R]epublic of China to reverse engineer” those items in order “to increase

its military capabilities and might.” (Doc. 139 at 3.) The district court agreed, and

Man received a sentence of 50 months’ imprisonment. (Doc. 155 at 38-41.)

      Other export cases involving similar sentences have tended to be comparably

egregious. For example, in United States v. Su Bin, 14 CR 131 (S.D. Cal.), the

defendant was sentenced to 46 months’ imprisonment after pleading guilty to

conspiracy to violate AECA and the Computer Fraud and Abuse Act. He admitted

participating in a six-year conspiracy to hack into the computer networks of major

U.S. defense contractors, steal sensitive military data, and send the stolen data to

China.

             4.    United States v. Calik: Time Served Where Defendant Was Front
                   for Overseas Manufacturers of USML Items Supplied to Defense
                   Department

      The facts in United States v. Calik, 15 CR 427 (D.N.J.), provide some

parallels to co-defendant Victor Verma (although it is respectfully submitted that

the aggravating factors were more substantial in Calik). The defendant in Calik

was a Turkish citizen who owned or co-owned a pair of New Jersey-based

corporations that supplied replacement military parts to the Department of

Defense. The criminal complaint charged Calik with two counts of mail fraud and

one count of violating AECA. (Doc. 1 at 2-4.) The government alleged that Calik’s
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businesses were merely shell companies set up as fronts for Turkish manufacturers

to obtain Department of Defense contracts for which they were ineligible. (Id. at 7,

¶ 10.) According to the complaint, between 2009 and September 2014, often from

outside the United States, Calik “downloaded approximately one hundred thousand

drawings” from the Defense Logistics Agency, several of which were U.S. Munitions

List items. (Id. at 8, ¶¶ 14-15.) Between July 2010 and January 2013, the Defense

Department wired one of Calik’s companies approximately $1,378,717 for parts

supplied by his company, most of which Calik wired to himself and co-schemers in

Turkey. (Id. at 9, ¶ 21.)) In at least one instance, parts Calik supplied to the

government had dimensional nonconformities and were unusable. (Id., ¶ 20.) The

AECA count involved technical data relating to the torpedo tube on the NSSN Class

Submarine. Under a plea agreement with the government, Calik pleaded guilty to

an information charging him with a single mail fraud count. The district court

sentenced Calik to time served (approximately 15 months).

                                   *     *     *

      The above examples are obviously not intended to be exhaustive, and

undoubtedly cases could be found that do not fit neatly into any discernible

sentencing pattern. As noted, however, they confirm that the probationary sentence

that U.S. Probation has recommended for Ms. Verma is consistent with the

purposes of § 3553(a)(2) and, in particular, would further the goal of avoiding

unwarranted sentencing disparities.




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                                   CONCLUSION

      Ms. Verma now faces sentencing for conduct that occurred eight years ago or

more. In those eight years, she has emerged from the shadow of her father and

worked to nourish the positive qualities that have always been part of her

character. The offense of which she stands convicted, though serious, did not involve

an intent to transfer defense articles to a foreign end user or to harm the United

States. She already faces significant, life-long punishment in the form of a felony

conviction. The sentence recommended by U.S. Probation will serve the goals of

sentencing while preserving Ms. Verma’s ability to make a positive contribution to

society in the future. Accordingly, Ms. Verma respectfully requests that the Court

impose a non-custodial sentence of four years’ probation, with any additional

conditions that the Court deems just and appropriate.

Dated: August 2, 2018

                                       Respectfully submitted,

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